                        EXHIBIT
Case 2:19-cr-00134-JFC Document 70-2B Filed 08/22/19 Page 1 of 3
                                      EXHIBIT
              Case 2:19-cr-00134-JFC Document 70-2B Filed 08/22/19 Page 2 of 3



                                                        REDACTED


                                                                                                 he/she did see
and speak with CLARK and another unknown black male whom CLARK stated was is cousin. (later positively identified as
Terrance SUGGS).

7.         REDACTED            , while searching the parking garage of the Westin Hotel for the vehicle that CLARK is
known to operate (Chevrolet Traverse), Detective REDACT REDACTED asked if CLARK was driving his normal/usual
vehicle with him last evening. RE stated that they were
                                                     ED in his cousins Gray Subaru.
                                DA
8. On Monday, February 25th, 2019 at approximately 1130 hours, I , Detective REDACT Trooper REDACT Detective
REDAC and Detective REDACTED met with RE at a predetermined location             EDfor purposes of placing
                                                                                                    ED intercepted
  TEDto CLARK and to finalize the arraingements of
call(s)                                          DAthe delivery of five (5) kilograms of COCAINE from CLARK to CI-1:
                                                       REDACTED




11. At approximately 1500 hours TFO HETHERINGTON was assigned to surveillance near the Grant Street location in
North Braddock.

12.                             REDACTED                                  CLARK stating that he was twenty (20) minutes
               REDACTED

                                                       REDACTED
                                                     LARK stated that he was in North Braddock on Grant St. RE
                                                                                                                 DA

14. TFO REDACTED advised that the Chevrolet Traverse occupied by a black male arrived and parked in the 1400 block
of Grant St. TFO REDACTED further stated that a second vehicle (later identified as a Subaru bearing PA registration
KPZ-3470 which was registered from Philadelphia) had also arrived and parked in front of the Traverse operated by a black
male. The operator, later identified as Terrence SUGGS: Jr. exited the Subaru and entered the passenger compartment of
the Traverse.

15. At this time I was able to confirm the registration affixed to the Traverse as the same vehicle described by CI-1 to
deliver COCAINE in the past.




16. At this time the arrest team converged and blocked in the Traverse and detained both occupants without incident. The
occupants were identified as Jermaine CLARK (operator of Chevrolet Traverse) and Terrence SUGGS; Jr. (passenger of
Traverse and operator of the Subaru) with a DOB of REDACT .
                                                       EDcard from STAYAKA.com, a white magnetic key card (HID)
* Located on CLARK were 2 cellular I-Phones , a hotel key
(00764 11784214-3A) and a PA drivers license.
* Located on SUGGS were 2 cellular I-Phones, a brown wallet containing PA drivers license, and other debit/credit cards.
Both CLARK and SUGGS were transported to the Swissvale Police Department. Both vehicles were towed and housed in
                        EXHIBIT
Case 2:19-cr-00134-JFC Document 70-2B Filed 08/22/19 Page 3 of 3
